Case 1:24-cr-00346-BMC          Document 45        Filed 11/04/24      Page 1 of 1 PageID #: 420




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 UNITED STATES OF AMERICA,

                       - v. -
                                                              24 Cr. 346 (BMC) (TAM)
 LINDA SUN,
     a/k/a “Wen Sun,” “Ling Da Sun,” and                       NOTICE OF MOTION
     “Linda Hu,” and
                                                             (Oral Argument Requested)
 CHRIS HU,

                           Defendants.


       PLEASE TAKE NOTICE, that defendant LINDA SUN, a/k/a “Wen Sun,” “Ling Da

Sun,” and “Linda Hu,” by and through the undersigned counsel, and in reliance upon the

accompanying memorandum of law, will move before the Honorable Brian M. Cogan, United

States District Judge for the Eastern District of New York, at 225 Cadman Plaza East, Brooklyn,

NY 11201, on a date and time to be fixed by the Court, for an order dismissing Counts 1–7 and 10

of the indictment (Dkt. 4), and for such other and further relief as the Court deems just and proper.

Dated: November 4, 2024
       New York, New York
                                                      Respectfully submitted,

                                                      /s/ Jarrod L. Schaeffer
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                                                      Jarrod L. Schaeffer
                                                      Scott Glicksman
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